Case 2:03-Cv-02980-.]PI\/|-tmp Document 60 Filed 07/26/05 Page 1 of 2 Page|D 74

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IN THE UN:TED s'rA'rEs D:l:s'rn:cc'r coURT ,-

FOR THE WESTERN DISTRICT OF TENNESSEE

 

wmsTmRN nrv:cs:l:oN 95 JUL 25 AH 3’ 30
RoBERT E. nms, RDWSM. GOU.D
Plaintiff, MWEUG§ NST:T\§,T”YM

v .
NO. 03-2980 Hl/P
UNITED PARCEL SERVICE, INC . l
and SUZANNE REDMOND,

v'_l`d\-IV`-F`I\-IV\¢

De£endants.

 

OR.DER GR.ANTING MOTION FOR CONTINUANCE
AND
ORDER RESETTING TRIAL AN'D PRETRIAL DATES

 

Before the Court is the motion of Defendant Suzanne Redmond for a
continuance, filed July 15, 2005. Good cause having been shown, the
Court GRANTS the motion and RESETS the trial dates in this case as
follows:
Trial: The Jury trial in this matter is set to begin on Tuesday¢
October ll, 2005, at 9:30 a.m. in courtroom no. 4.
Pretrial Conference: A pretrial conference is set for Mondayl October
34 2005, at 9:00 a.m.
Pretrial Order: The pretrial order and proposed jury instructions and
voir dire questions are due by no later than 4:30 p.m. on Monday:
Sthember 26l 2005.

Absent good cause, the dates established by this order shall not

be extended or modified.

IT IS SO ORDERED this iv day Of July, 2005.

Q M‘(LQQ

JO P. MCCALLA
UN TED STATES DISTRICT JUDGE

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with Hule 58 and/or 79(a) FRCP on 2 QQ ¢2 =2 OO

 

 

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This notice confirms a copy of the document docketed as number 60 in
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ESSEE

 

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Honorable .1 on McCalla
US DISTRICT COURT

